         Case 3:19-cr-03456-DCG Document 10 Filed 10/30/19 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

USA                                         §
                                            §
vs.                                         §    Case Number: EP:19-CR-03456(1)-DCG
                                            §
(1) JOSE ALEJANDRO VAQUERA                  §

                ORDER SETTING D.C. ARRAIGNMENT / DETENTION


IT IS HEREBY ORDERED that the above entitled and numbered case is set before the
HONORABLE U.S. MAGISTRATE MIGUEL A. TORRES for D.C. ARRAIGNMENT /
DETENTION, November 04, 2019 at 09:30 AM in Magistrate Courtroom, Room 712.

IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to the
defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for the
defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


IT IS SO ORDERED this 10/30/2019.



                                            ______________________________
                                            MIGUEL A. TORRES
                                            UNITED STATES MAGISTRATE JUDGE
